              Case 2:24-cv-11413-BRM-LDWCIVIL
JS 44 (Rev. 03/24)                         Document
                                              COVER 1-1 SHEET
                                                          Filed 12/23/24                                                                            Page 1 of 1 PageID: 7
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
         Liana Hee Lim                                                                                     Allergan USA, Inc. and Allergan, Inc.
   (b) County of Residence of First Listed Plaintiff             Los Angeles Cnty., CA                    County of Residence of First Listed Defendant              Lake Cnty., IL
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)           Attorneys (If Known)
       Tessa Cuneo; Alexandra Robertson; David Stern- ASK
       LLP, 2600 Eagan Woods Drive, Suite 400, St. Paul, MN
       55121 (651) 406-9665
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                     and One Box for Defendant)
   1   U.S. Government                 3   Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State            1          1       Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

  2    U.S. Government                 4   Diversity                                             Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                   625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                  of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product             Product Liability             690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument              Liability               367 Health Care/                                                          INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                      PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment          Slander                     Personal Injury                                                     820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                   830 Patent                        450 Commerce
  152 Recovery of Defaulted              Liability               368 Asbestos Personal                                                   835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                       Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product               Liability                                                          840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment            Liability              PERSONAL PROPERTY                            LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                    710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                   Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal                 720 Labor/Management                 SOCIAL SECURITY                        Protection Act
  195 Contract Product Liability     360 Other Personal               Property Damage                    Relations                       861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                   385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -            Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                 Exchange
                                         Medical Malpractice                                             Leave Act                       864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                  790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                     791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                     Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                   870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                                or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                             871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                      IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment               Other:                            462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -   540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                         Other                    550 Civil Rights                      Actions                                                                State Statutes
                                     448 Education                555 Prison Condition
                                                                  560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or              5 Transferred from    6 Multidistrict                       8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                     Another District          Litigation -                      Litigation -
                                                                                                                             (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity) :
                                       28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                       Personal Injury; Health Care/Pharmaceutical Personal Injury Product Liability
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                            JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE          Hon. Brian R. Martinotti, U.S.D.J.                     DOCKET NUMBER MDL No. 2921; 2:19-md-02921
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
December 23, 2024                                                    /s/ Tessa G. Cuneo
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                     JUDGE                           MAG. JUDGE
